                          UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF TENNESSEE
                                at CHATTANOOGA

 UNITED STATES OF AMERICA,                    )
                                              )
 Plaintiff,                                   )
                                              )       Case No. 1:13-cr-128
 v.                                           )
                                              )       Judge Mattice
 JOHNNY CALDWELL, JR.,                        )       Magistrate Judge Lee
                                              )
 Defendant.                                   )
                                              )

                                        ORDER

        On July 23, 2014, United States Magistrate Judge Susan K. Lee filed her Report

 and Recommendation (Doc. 170) pursuant to 28 U.S.C. § 636(b)(1). In her Report and

 Recommendation, Magistrate Judge Lee recommended that Defendant’s Motion to

 Suppress (Doc. 117) be denied. On August 6, 2014, Defendant filed timely objections to

 the Report and Recommendation. (Doc. 173). Defendant also filed a supplement to his

 objections on August 11, 2014. (Doc. 175).

        The Court has now reviewed the entire record relevant to the instant objections,

 and for the reasons described below, the Court will ACCEPT and ADOPT Magistrate

 Judge Lee’s Report and Recommendation and will DENY Defendant’s Motion to

 Suppress.

 I.     BACKGROUND

        Magistrate Judge Lee held an evidentiary hearing on Defendant’s Motion to

 Suppress on June 17, 2014, during which Chattanooga Police Department (“CPD”)

 Officers John Patterson and Kelly Downs testified for the Government and Marc

 Lawrence testified for the Defendant. (Doc. 147 at 2). In her Report and




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 Recommendation, Magistrate Judge Lee recounted the facts developed at the

 evidentiary hearing. (Doc. 170 at 1-6). In large part, Defendant does not object to the

 facts as outlined in Magistrate Judge Lee’s Report and Recommendation. See Doc. 173

 at 2 (“In general, and with only a few exceptions, however, Defendant does not take

 issue with the recitation of facts set out in the R&R”). However, Defendant disputes

 four   factual   interpretations     within   Magistrate   Judge    Lee’s   Report     and

 Recommendation: (1) that Officer Patterson “revers[ed] course on whether he had used

 the Defendant’s telephone for purposes of obtaining its number”; (2) that the speeding

 incident occurred on Wisdom street; (3) that Officer Downs testified that she was not

 familiar with the area; and (4) that “Officer Patterson blamed the street confusion on the

 fact that he had been mixed up on Wilder and Wisdom Street [for his] entire career.”

 (Doc. 175 at 2; Doc. 173 at 3-4).

        The Court has reviewed Defendant’s factual objections as well as Magistrate

 Judge Lee’s description of the factual background of this case and finds Defendant’s

 objections to be without merit. Regarding Defendant’s first objection, as he identifies in

 his supplement, while Officer Patterson may not have remembered using Defendant’s

 cell phone to obtain its number when Assistant United States’ Attorney Chris Pool asked

 him two weeks prior to the suppression hearing, from the testimony at the hearing, it is

 undisputed that he did in fact dial 911 on the cell phone to obtain its number. See Docs.

 170 at 3; 175 at 1. Thus, to the extent Defendant is making a specific factual objection as

 to this issue, his objection is hereby OVERRULED.

        Turning to Defendant’s second, third, and fourth factual objections, it is clear

 from the evidentiary record that, although the police incident report and the officers

 originally indicated otherwise, the speeding incident occurred on Wilder Street, not

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 Wisdom Street. See Doc. 170 at 5. The Court has reviewed the evidentiary record

 relevant to this matter, and it is clear that the officers were initially mistaken regarding

 the street on which the incident occurred. See Doc. 174 at 25, 41. However, within the

 hearing, the officers realized their mistake and used a map to identify the correct street

 on which the incident occurred as Wilder Street. Id. at 47, 60.

        From the evidentiary record before the Court, it is indisputable that Officers

 Down and Patterson were woefully unprepared for the suppression hearing before

 Magistrate Judge Lee, creating questions as to their credibility. Being unprepared for a

 court hearing is by no means a best practice, but Magistrate Judge Lee heard the

 officers’ testimony and found that any issues with their credibility “did not discredit the

 officers’ testimony about their observation of Defendant’s speeding violation.” (Doc. 170

 at 12).   It has long been the practice of our judicial system to leave credibility

 determinations to the fact finder best equipped to make those determinations. See

 Anderson v. City of Bessemer City, N.C., 470 U.S. 564, 565 (1985); United States v. U.S.

 Gypsum Co., 333 U.S. 364, 394 (1948) (“The practice in equity prior to the present

 Rules of Civil Procedure was that the findings of the trial court, when dependent upon

 oral testimony where the candor and credibility of the witnesses would best be judged,

 had great weight with the appellate court”). As Magistrate Judge Lee arrived at her

 conclusion after listening to the officers’ testimony and was in the best position to judge

 their credibility, the Court sees no reason to disturb her finding, and Defendant’s factual

 objection is hereby OVERRULED.

        As the Court has overruled Defendant’s factual objections, the Court ADOPTS

 BY REFERENCE the facts as set out in Magistrate Judge Lee’s Report and



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 Recommendation. The Court will refer to the facts only as necessary to analyze the

 issues raised on objection.

 II.    ANALYSIS

        Defendant has specifically objected to Magistrate Judge Lee’s Report and

 Recommendation because: (1) it fails “to point out that the government failed to elicit

 testimony” regarding the fact that the CPD patrol cars were not equipped with a

 particular radar technology system; (2) it “suggested that an inference of speeding was

 created by the Defendant’s father’s (the passenger’s) acknowledgement that the vehicle

 was doing 37 miles per hour”; (3) it discusses the “proposition that the subjective intent

 of the officers is irrelevant for Fourth Amendment purposes when testing the legitimacy

 of the traffic stop”; (4) it “bypasses the question of whether Officer Patterson’s without-

 permission use of the Defendant’s cell phone . . . was a search”; and (5) it

 inappropriately applies the good faith exception. (Doc. 173 at 4-7).

        When reviewing objections to a Report and Recommendation, the Court must

 conduct a de novo review of those portions of the Report and Recommendation to which

 objection is made, and it may accept, reject, or modify, in whole or in part, the

 Magistrate Judge’s findings or recommendations. 28 U.S.C. § 636(b)(1)(C).

        The Court has reviewed the record relevant to the instant objection and agrees

 with Magistrate Judge Lee’s well-reasoned conclusions. In large part, Defendant’s

 objections vaguely dispute nondispositive matters and are without merit. See Smith v.

 Woods, 505 F. App’x 560, 564 (6th Cir. 2012) (finding that a party’s objections must be

 “clear enough to enable the district court to discern those issues that are dispositive and

 contentious”). Specifically, Defendant’s objection as to the particular radio technology

 system and his objection to Magistrate Judge Lee’s reference to Defendant’s father’s

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 statement are nondispositive and unpersuasive considering the fact that the officers

 paced the car to determine its speed.        Similarly, Defendant’s third objection, his

 characterization that “the officers in this case were eager. . . to make the stop, [which

 constitutes] fertile grounds for error” is entirely unsupported and in contrast to the well-

 developed body of case law as to this issue. See Whren v. United States, 517 U.S. 806,

 813 (1996) (“Subjective intentions play no role in ordinary, probable-cause Fourth

 Amendment analysis.”); United States v. Blair, 524 F.3d 740, 748 (6th Cir. 2008)

 (“When a traffic stop is supported by probable cause, an officer’s subjective intent is

 irrelevant”); United States v. Hill, 195 F.3d 258, 267 (6th Cir. 1999) (“Of course, the

 Supreme Court in Whren confirmed that a police officer is legally allowed to stop a

 vehicle for a traffic violation when there is probable cause for the traffic stop, without

 regard for the officer's subjective motivation”). Accordingly, Defendant’s first three

 objections will be OVERRULED.

        Defendant’s fourth and fifth objections both relate to Officer Patterson’s use of

 Defendant’s cell phone to determine its number and Magistrate Judge Lee’s application

 of the good faith exception.     See Doc. 173 at 6-7.     As Defendant discusses in his

 objection, Riley v. California is the United States Supreme Court case relevant to this

 issue. See 134 S.Ct. 2473 (2014).

        In Riley, the Court reviewed the search incident to arrest doctrine to determine

 how it should apply to “modern cell phones, which are now such a pervasive and

 insistent part of daily life that the proverbial visitor from Mars might conclude that they

 were an important feature of human anatomy.” Id. at 2584.             Similar to previous

 Supreme Court opinions regarding a search incident to arrest, the Court balanced the

 promotion of legitimate government interests and an individual’s right to privacy under

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 the Fourth Amendment. The Court held that “officers must generally secure a warrant

 before conducting [searches of data on cell phones.]” Id. at 2485

        In her Report and Recommendation, Magistrate Judge Lee discussed Riley and

 found that “even if placing a call to 911 without a warrant or consent was a search of the

 data on Defendant’s cell phone and thus a violation of the Fourth Amendment, the

 exclusionary rule should not apply. . . .”        (Doc. 170 at 16) (emphasis original).

 Magistrate Judge Lee also considered the application of the good faith exception and

 found that “suppression would not be an appropriate remedy as Officer Patterson’s

 conduct in placing an emergency call was objectively reasonable at the time and was not

 a deliberate, reckless, or grossly negligent disregard for Defendant’s Fourth Amendment

 rights.” (Id. at 20). Magistrate Judge Lee based this finding on a review of the relevant

 case law as well as the fact that Riley had not been decided when Officer Patterson used

 Defendant’s cell phone to obtain its number. See id. at 19.

        Despite Defendant’s objections, the Court agrees with Magistrate Judge Lee’s

 finding that the good faith exception to the exclusionary rule applies to the instant case.

 As Magistrate Judge Lee thoroughly discusses in her Report and Recommendation, the

 Court is bound by the longstanding limitations of the suppression remedy set forth by

 the United States Supreme Court. See Davis v. United States, 131 S. Ct. 2419, 2426-27

 (2011) (“Where suppression fails to yield ‘appreciable deterrence,’ exclusion is ‘clearly . .

 . unwarranted.’”); Herring v. United States, 555 U.S. 135, 140 (2009) (“exclusion [of

 evidence] has always been our last resort, not our first impulse”) (internal quotation

 omitted); United States v. Leon, 468 U.S. 897, 919-20 (1984) (“In short, where the

 officer’s conduct is objectively reasonable, excluding the evidence will not further the

 ends of the exclusionary rule in any appreciable way; for it is painfully apparent that . . .

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 the officer is acting as a reasonable officer would and should act in similar

 circumstances.”) (internal quotations omitted); U. S. v. Peltier, 422 U.S. 531, 542 (1975)

 (“If the purpose of the exclusionary rule is to deter unlawful police conduct, then

 evidence obtained from a search should be suppressed only if it can be said that the law

 enforcement officer had knowledge, or may properly be charged with knowledge, that

 the search was unconstitutional under the Fourth Amendment.”).           Based on these

 limitations, suppression of evidence is only appropriate in certain circumstances in

 which unlawful police conduct would then be deterred. Accordingly, as Riley had yet to

 be decided and Officer Patterson was objectively reasonable in believing that the search

 was constitutional, the evidence should not be suppressed.

       The Court hereby ACCEPTS and ADOPTS Magistrate Judge Lee’s findings of

 fact, conclusions of law, and recommendations as set forth above pursuant to §

 636(b)(1); Defendant’s Objections (Doc. 173) are OVERRULED; and Defendant’s

 Motion to Suppress (Doc. 117) is DENIED.



       SO ORDERED this 14th day of January, 2015.



                                                    /s/ Harry S. Mattice, Jr._______
                                                    HARRY S. MATTICE, JR.
                                                 UNITED STATES DISTRICT JUDGE




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